         Case 3:22-cv-01118-JAM Document 86 Filed 08/16/23 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

 NATIONAL ASSOCIATION FOR GUN RIGHTS, and                      )
 TONI THERESA SPERA FLANIGAN                                   )
                                                               )
        Plaintiffs,                                            )
                                                               )          Civil Action No.
 v.                                                            )           3:22 CV 1118
                                                               )
 NED LAMONT, is his official capacity as the Governor          )
 of the State of Connecticut; PATRICK J. GRIFFIN, is           )
 his official capacity as the Chief State’s Attorney of the    )
 State of Connecticut; and SHARMESE L. WALCOTT,                )
 in her official capacity as the State's Attorney, Hartford    )
 Judicial District,                                            )
                                                               )
        Defendants.                                            )          August 16, 2023

                                     NOTICE OF APPEAL

       The Plaintiffs, NATIONAL ASSOCIATION FOR GUN RIGHTS, and TONI THERESA

SPERA FLANIGAN, appeal to the United States Court of Appeals for the Second Circuit from

the Order (Docket Entry No. 85) denying the Plaintiffs’ Motion for Preliminary Injunction

(Docket Entry No. 28) entered on August 3, 2023.

                                                              THE PLAINTIFFS
                                                              NATIONAL ASSOCIATION FOR
                                                              GUN RIGHTS, and TONI
                                                              THERESA SPERA FLANIGAN

                                                              Barry K. Arrington, pro hac vice
                                                              3801 E. Florida Ave., Suite 830
                                                              Denver, CO 80210
                                                              (303) 205-7870
                                                              barry@arringtonpc.com




                                               -1-
         Case 3:22-cv-01118-JAM Document 86 Filed 08/16/23 Page 2 of 2




                                                            /s/ John Radshaw
                                                            John J. Radshaw (ct19882)
                                                            65 Trumbull Street, 2d Floor
                                                            New Haven, CT 06510
                                                            (203) 654-9695 | (203) 721-6182 f
                                                            jjr@jjr-esq.com


                                   CERTIFICATION

        I hereby certify that on AUGUST 16, 2023, a copy of foregoing was filed electronically.
Notice of this filing will be sent by e-mail to all appearing parties by operation of the Court’s
electronic filing. Parties may access this filing through the Court’s system.



                                                 /s/ John J. Radshaw III
                                                 _____________________________
                                                 John J. Radshaw III




                                               -2-
